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                      IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF ALASKA


KAREN BARSANTI                    )
                                  )
                 Plaintiff,       )
                                  )
      vs.                         )
                                  )
ALLSTATE INSURANCE COMPANY, )
                                  )
                 Defendant.       )              Case No. 3:12-cv-00074-SLG
__________________________________)

                        STIPULATED NOTICE OF FILING
                      CONFIDENTIALITY AGREEMENT AND
                      PROPOSED CONFIDENTIALITY ORDER

              The undersigned parties, by and through their counsel of record, hereby

jointly give notice to the Court and request an order incorporating the Confidentiality

Agreement, attached hereto as Exhibit A, imposing certain confidentiality obligations on the




         Case 3:12-cv-00074-SLG Document 15 Filed 07/23/12 Page 1 of 3
parties.

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I certify that on July 23, 2012,
a copy of the foregoing document
was served electronically on:

Jeffrey J. Barber, Esq.
Gary A. Zipkin, Esq.

By       s/ Neil T. O’Donnell




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